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 4                             UNITED STATES DISTRICT COURT

 5                          EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                    No.       2:17-cr-00232-GEB
 8                  Plaintiff,
 9          v.                                    ORDER AFFIRMING MAGISTRATE
                                                  JUDGE’S PRETRIAL DETENTION ORDER
10   ATIR DADON,                                  AND DENYING DEFENDANT’S MOTION
                                                  FOR PRETRIAL RELEASE
11                  Defendant.
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                  Defendant       Atir    Dadon       appeals   the    Magistrate       Judge’s
14
     following     finding      made     under        the    preponderance       of    evidence
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     standard: “After considering the factors set forth in 18 U.S.C. §
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     3142(g) and the information presented at the detention hearing,
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     the Court concludes that the defendant must be detained pending
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     trial because the Government has proven [b]y a preponderance of
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     evidence     that    no    condition     or       combination     of    conditions        of
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     release     will    reasonably      assure       the    defendant's     appearance        as
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     required.”      Order      of       Detention          Pending    Trial,         ECF   141.
22
     Specifically,       the    Magistrate        Judge      found    Defendant       “lacks    a
23
     stable residence,” “lacks significant community or family ties to
24
     this   district,”      and    has    “[s]ignificant         family     or    other     ties
25
     outside the United States.” Id.
26
                  The Pretrial Services Officer in this district also
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     recommends that Defendant be detained pending trial considering
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 1   his “lack of honesty and candor with Pretrial Services and the

 2   Court.” Pretrial Service’s Report dated October 10, 2018, at page

 3   5. The Pretrial Services Officer states in pertinent part that

 4   “Pretrial    Services     has   concerns      given    defendant’s     significant

 5   family ties to Israel, his bank account in Israel, and his recent

 6   international travel.” Id. at 7. Pretrial Services also states it

 7   “is    extremely   troubled     that    the    defendant     failed    to    disclose

 8   significant     assets    to    Pretrial      Services   at    the    time    of   his

 9   initial interview with Pretrial Services in the Central District

10   of    California   on    September     18,    2018.”   Id.    This    nondisclosure

11   includes “approximately 12 additional bank accounts, one overseas

12   bank account located in Israel . . . , [and] three additional

13   companies (employment), with significant earnings.” Id. Pretrial

14   Services states it “is extremely concerning to Pretrial Services

15   [that] the sheer volume of additional assets . . . were not

16   disclosed to the Court.” Id. Pretrial Service further states it

17   “is    troubled    by    the    limited       willingness”     that    Defendant’s

18   “friends and brother” have shown concerning posting a bond on

19   defendant’s behalf, stating that what was offered is “an amount

20   that    would   [not]    pose   much    of     a   financial   risk.”       Id.    This
21   bespeaks that the referenced individuals are also concerned about

22   the risk that Defendant might flee.

23               It is obvious that Defendant has shown a willingness to

24   abandon his family and flee, and did flee when he suspected that

25   he would be arrested. On the day the FBI arrested Dadon’s co-

26   defendant, Dadon “abandoned his wife and children and fled to an
27   unknown location in the Los Angeles area.”                     United States v.

28   Dadon, 2018 WL 4693106, at *1 (E.D. Cal., Sept. 28, 2018, No.
                                               2
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 1   2:17-CR-00232-GEB). Dadon refused to tell the FBI his location.

 2   This     flight     reveals       an     instinctual     reaction     upon    Dadon’s

 3   realization of the probability of his imminent arrest, and that

 4   his family’s existence did prevent his flight.

 5               Dadon’s argument that he then fled because he did not

 6   want to be arrested in front of his family and neighbors is

 7   disbelieved, since he refused to tell the FBI to where he had

 8   fled and that he was willing to surrender elsewhere.                     It appears

 9   he only surrendered himself to the custody of the United States

10   Marshal in the Central District of California after he received

11   assurance from his attorney that he would be released on bond and

12   did not have tell the court about all his assets.

13               The record reveals that Dadon only disclosed his full

14   assets    after     he     was    caught    concealing    most   of   them.     This

15   nondisclosure undermines Dadon’s veracity, and does not weigh in

16   his favor when determining whether he can be trusted when he

17   indicates he will not flee. It is appalling and pellucid that

18   Defendant grossly misrepresented his assets in his initial Pre-

19   Trial Services interview with the Pretrial Service Office in the

20   Central District of California. Defendant’s evident “dishonesty
21   and ties [to] [Israel] provide[s] an ample basis for denying his

22   bail request.” United States v. Cerizo, 542 Fed.Appx. 641, 642

23   (9th     Cir.     2013).     As    the     United   States   asserts     concerning

24   Defendant’s failure to be truthful about his assets, he “either

25   deliberately deceived Pretrial Services on his own initiative or

26   did so without hesitation at the advice of another. His lack of
27   resistance to taking such a path does not augur in his favor,

28   even if one assumes the truth of his current claim that he was
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 1   not the idea’s originator.” Gov’t’s Opp. at 2:20-24, ECF 152.

 2               Based on the factors in 18 U.S.C. § 3142(g) and the

 3   information   presented   at   the   detention   hearing,    Defendant   is

 4   detained pending trial because the Government has proven by a

 5   preponderance of evidence that no condition or combination of

 6   release will reasonably assure the defendant's appearance as
     required.
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 8               Dated:   November 2, 2018

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